Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 1 of 11 PageID 148




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    Modified Atmosphere Enterprises LLC,

                   Plaintiff,                        Civil Action No.: 6:20-cv-01702-PGB-LRH
    v.

    Fresh Express Brands Incorporated,
                                                              Jury Trial Demanded
                   Defendant.


    Fresh Express Brands Incorporated,

           Counterclaim Plaintiff,
    v.

    Modified Atmosphere Enterprises LLC,

           Counterclaim Defendant.


                                   CASE MANAGEMENT REPORT

          The parties have agreed on the following dates and discovery plan pursuant to

   Fed.R.Civ.P. 26(f) and Local Rule 3.05(c):

    DEADLINE OR EVENT (with Court recommended time frame)                  AGREED DATE

    Mandatory Initial Disclosures (pursuant to Fed. R. Civ. P. 26(a)(1)    3/4/2021
    as amended effective December 1, 2000)
    Certificate of Interested Persons and Corporate Disclosure Statement   1/11/2021
    Motions to Add Parties or Amend Pleadings                              6/18/2021
    Disclosure of Infringement Contentions                                 4/19/2021
    Disclosure of Non-Infringement and Invalidity Contentions              5/19/2021
    Initial Identification of Disputed Claim Terms                         6/18/2021
    Proposed Claim Term Constructions [within 1 month of above]            7/19/2021

    Joint Claim Construction Statement [within 2 weeks of above]           8/2/2021
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 2 of 11 PageID 149




    DEADLINE OR EVENT (with Court recommended time frame)                  AGREED DATE

    Technology Tutorial Conference [within 2 – 4 weeks of above]          8/17/2021
    Plaintiff’s Claim Construction Brief [within 1 month of above]        One month after
                                                                          Technology Tutorial
    Defendant’s Response Brief [within 1 month of above]                  One month after
                                                                          service of Plaintiff’s
                                                                          Claim Construction
                                                                          Brief
    Joint Pre-Hearing Statement [within 1 week of above]                  One month after
                                                                          service of
                                                                          Defendant’s
                                                                          Response brief to
                                                                          Plaintiff’s Claim
                                                                          Construction Brief
    Claim Construction Hearing [within 3 weeks of above]                  Three weeks after
                                                                          filing of Joint Pre-
                                                                          Hearing Statement,
                                                                          date to be set by
                                                                          Court
    Disclosure of Intent to Rely on Advice of Counsel as a Defense;       Three months after
    Amendment of Infringement, Non-Infringement and Invalidity            entry of claim
    Contentions; and Disclosure of Expert Reports on Issues Where the     construction order
    Party Bears the Burden of Proof
    [no sooner than 3 months and no later than 5 months of above]

    Disclosure of Rebuttal Expert Reports [within 1 month of above]       One month after
                                                                          service of Opening
                                                                          Expert Reports
    Fact Discovery Deadline [within 2 months of Amendments]               Two months after
                                                                          service of rebuttal
                                                                          expert reports
    Expert Discovery Deadline [within 1 month of above]                   One month after
                                                                          close of fact
                                                                          discovery
    Dispositive Motions                                                   Two months after
    [within 2 months of above and at least 4 – 5 months prior to trial]   close of expert
                                                                          discovery
    Parties’ Deadline to Meet and Confer In Person to Prepare Joint       Seven weeks before
    Final Pretrial Statement [10 days prior to deadline for the final     trial date
    pretrial statement]




                                                 -2-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 3 of 11 PageID 150




    DEADLINE OR EVENT (with Court recommended time frame)                     AGREED DATE

    Parties’ Deadline for Filing Joint Final Pretrial Statement (Including   Six weeks before
    Voir Dire Questions, a Single Set of Jointly-Proposed Jury               trial date
    Instructions and Verdict Form (also email to
    chambers_FLMD_Byron@flmd.uscourts.gov), Witness Lists,
    Exhibit Lists with Objections on Approved Form); Trial Briefs
    Parties’ Deadline for Filing All Other Motions Including Motions In      One month before
    Limine [All requests to limit evidence shall be included in a single     trial date
    motion not to exceed 25 pages without leave of Court. Responses
    are limited to 20 pages without leave of Court.]
    Final Pretrial Conference [Court will set a date that is approximately   Three weeks before
    3 weeks before trial]                                                    trial date
    Trial Term Begins [Local Rules set goal of trial within 2 years in all    2/6/2023
    Track Two cases; trial term must not be less than 4 months after
    dispositive motions deadline (unless filing of such is waived.]
    Estimated Length of Trial [trial days]                                   10 days
    Jury / Non-Jury                                                          Jury
    Mediation                                                    Deadline:   Two weeks after
    Mediator: Mark Stein                                                     close of expert
    Address: 2999 N.E. 191st Street                                          discovery
    Suite 330, Aventura, FL. 33180

    Telephone: 305.356.7550
    [Absent arbitration, mediation is mandatory; Court recommends
    either 2 - 3 months after CMR meeting, or just after discovery
    deadline]
    All Parties Consent to Proceed Before Magistrate Judge                   Yes____ No        X

                                                                             Likely to Agree in
                                                                             Future _____


   I.     Meeting of Parties

          A     meeting     was     held     by    telephone     on    12/18/2020     (date)       at

   1:00 p.m. ET and was attended by:

          Name                                                  Counsel for (if applicable)
   Matthew C. Holohan                                           Plaintiff
   Pete G. Pappas                                               Defendant
   Ann Fort                                                     Defendant




                                                  -3-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 4 of 11 PageID 151




   II.       Pre-Discovery Initial Disclosures of Core Information

             Fed. R. Civ. P. 26(a)(1)(A) - (D) Disclosures

             Fed. R. Civ. P. 26, as amended effective December 1, 2010, provides that these

   disclosures are mandatory in Track Two and Track Three cases, except as stipulated by the

   parties or otherwise ordered by the Court (the amendment to Rule 26 supersedes Middle

   District of Florida Local Rule 3.05, to the extent that Rule 3.05 opts out of the mandatory

   discovery requirements):

                    The parties __ have exchanged            X     agree to exchange (check one)

             information described in Fed.R.Civ.P. 26(a)(1)(A) - (D) by 3/4/2021.

             Below is a description of information disclosed or scheduled for disclosure.

   III.      Electronic Discovery

             The parties have discussed issues relating to disclosure or discovery of electronically

   stored information ("ESI"), including Pre-Discovery Initial Disclosures of Core Information in

   Section II above, and agree that (check one):

             __   no party anticipates disclosure or discovery of ESI in this case;

              X   one or more of the parties anticipate disclosure or discovery of ESI in this case.

             If disclosure or discovery of ESI is sought by any party from another party, then the

   following issues shall be discussed: 1

             A.     The form or forms in which ESI should be produced.




       See Generally: Rules Advisory Committee Notes to the 2006 Amendments
         1

   to Rule 26(f) and Rule 16.


                                                   -4-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 5 of 11 PageID 152




             B.   Nature and extent of the contemplated ESI disclosure and discovery, including

   specification of the topics for such discovery and the time period for which discovery will be

   sought.

             C.   Whether the production of metadata is sought for any type of ESI, and if so,

   what types of metadata.

             D.   The various sources of ESI within a party's control that should be searched for

   ESI, and whether either party has relevant ESI that it contends is not reasonably accessible

   under Rule 26(b)(2)(B), and if so, the estimated burden or costs of retrieving and reviewing

   that information.

             E.   The characteristics of the party's information systems that may contain relevant

   ESI, including, where appropriate, the identity of individuals with special knowledge of a

   party's computer systems.

             F.   Any issues relating to preservation of discoverable ESI.

             G.   Assertions of privilege or of protection as trial-preparation materials, including

   whether the parties can facilitate discovery by agreeing on procedures and, if appropriate, an

   Order under Federal Rules of Evidence Rule 502. If the parties agree that a protective order

   is needed, they shall attach a copy of the proposed order to the Case Management Report. The

   parties should attempt to agree on protocols that minimize the risk of waiver. Any protective

   order shall comply with Local Rule 1.09 and Section IV.F. below on Confidentiality

   Agreements.

             H.   Whether the discovery of ESI should be conducted in phases, limited, or

   focused upon particular issues.




                                                -5-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 6 of 11 PageID 153




          Please state if there are any areas of disagreement on these issues and, if so, summarize

   the parties' positions on each:

   _____________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

          If there are disputed issues specified above, or elsewhere in this report, (check one):

          ___     one or more of the parties requests that a preliminary pre-trial conference under

   Rule 16 be scheduled to discuss these issues and explore possible resolutions. Although this

   will be a non-evidentiary hearing, if technical ESI issues are to be addressed, the parties are

   encouraged to have their information technology experts with them at the hearing.

          If a preliminary pre-trial conference is requested, a motion shall also be filed pursuant

   to Rule 16(a), Fed.R.Civ.P.

           X      all parties agree that a hearing is not needed at this time because they expect to

   be able to promptly resolve these disputes without assistance of the Court.

   IV.    Agreed Discovery Plan for Plaintiffs and Defendants

          A.      Certificate of Interested Persons and Corporate Disclosure Statement

          This Court has previously ordered each party, governmental party, intervenor, non-

   party movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and

   Corporate Disclosure Statement using a mandatory form. No party may seek discovery from

   any source before filing and serving a Certificate of Interested Persons and Corporate

   Disclosure Statement.      A motion, memorandum, response, or other paper “including

   emergency motion”       is subject to being denied or stricken unless the filing party has

   previously filed and served its Certificate of Interested Persons and Corporate Disclosure




                                                 -6-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 7 of 11 PageID 154




   Statement. Any party who has not already filed and served the required certificate is required

   to do so immediately.

          Every party that has appeared in this action to date has filed and served a Certificate of

   Interested Persons and Corporate Disclosure Statement, which remains current:

          ______ Yes                               X      No

          Amended Certificate will be filed by Defendant Fresh Express Brands Incorporated on

   or before 1/11/2021.

          B.      Discovery Not Filed

          The parties shall not file discovery materials with the Clerk except as provided in Local

   Rule 3.03. The Court encourages the exchange of discovery requests on diskette. See Local

   Rule 3.03 (f). The parties further agree as follows:

          C.      Limits on Discovery

          The parties agree to observe the limits on discovery provided for in the Federal Rules

   of Civil Procedure, except that they agree to a limit of 35 interrogatories per side. The parties

   may agree by stipulation on other limits on discovery or on modifications of the limits provided

   for in the Federal Rules of Civil Procedure. The Court will consider the parties’ agreed dates,

   deadlines, and other limits in entering the scheduling order. Fed.R.Civ.P. 29.

          D.      Discovery Deadline

          Each party shall timely serve discovery requests so that the rules allow for a response

   prior to the discovery deadline. The Court may deny as untimely all motions to compel filed

   after the discovery deadline. In addition, the parties agree as follows:




                                                 -7-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 8 of 11 PageID 155




          E.        Disclosure of Expert Testimony

          On or before the dates set forth in the above table for the disclosure of expert reports,

   the parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert testimony on

   direct examination at trial will be limited to the opinions, basis, reasons, data, and other

   information disclosed in the written expert report disclosed pursuant to this order. Failure to

   disclose such information may result in the exclusion of all or part of the testimony of the

   expert witness.    The parties agree on the following additional matters pertaining to the

   disclosure of expert testimony: Communications between experts and the parties and/or

   counsel by which they have been retained shall be deemed privileged from discovery

   except as to factual matters on which the expert relied in forming his or her opinions.

          F.        Confidentiality Agreements

          Whether documents filed in a case may be filed under seal is a separate issue from

   whether the parties may agree that produced documents are confidential. The Court is a public

   forum, and disfavors motions to file under seal. The Court will permit the parties to file

   documents under seal only upon a finding of extraordinary circumstances and particularized

   need. See Brown v. Advantage Engineering, Inc., 960 F.2d 1013 (11th Cir. 1992); Wilson v.

   American Motors Corp., 759 F.2d 1568 (11th Cir. 1985). A party seeking to file a document

   under seal must file a motion to file under seal requesting such Court action, together with a

   memorandum of law in support. The motion, whether granted or denied, will remain in the

   public record.

          The parties may reach their own agreement regarding the designation of materials as

   “confidential.” There is no need for the Court to endorse the confidentiality agreement. The

   Court discourages unnecessary stipulated motions for a protective order. The Court will




                                                 -8-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 9 of 11 PageID 156




   enforce appropriate stipulated and signed confidentiality agreements. See Local Rule 4.15.

   Each confidentiality agreement or order shall provide, or shall be deemed to provide, that “no

   party shall file a document under seal without first having obtained an order granting leave to

   file under seal on a showing of particularized need.”             With respect to confidentiality

   agreements, the parties agree as follows: If the case has not been settled by the date set for

   exchange of initial disclosures, Plaintiff will propose a confidentiality agreement within five

   business days of the initial disclosure deadline.

          G.        Other Matters Regarding Discovery

          The parties consent to electronic service of discovery requests and responses.

   Discovery requests and responses received after 11:59 ET shall be deemed served the

   following day.

   V.     Settlement and Alternative Dispute Resolution.

          A.        Settlement

          The parties agree that settlement is      X         likely ______ unlikely        (check

   one)

          The parties request a settlement conference before a United States Magistrate Judge

                             yes     X    no                  likely to request in future

          B.        Arbitration

          The Local Rules no longer designate cases for automatic arbitration, but the parties

   may elect arbitration in any case. Do the parties agree to arbitrate?

                              yes              X         no                 likely to agree in future

                    _______ Binding                      ________        Non-Binding




                                                   -9-
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 10 of 11 PageID 157




           C.      Mediation

           Absent arbitration or a Court order to the contrary, the parties in every case will

    participate in Court-annexed mediation as detailed in Chapter Nine of the Court’s Local Rules.

    The parties have agreed on a mediator from the Court’s approved list of mediators as set forth

    in the table above, and have agreed to the date stated in the table above as the last date for

    mediation. The list of mediators is available from the Clerk and is posted on the Court’s web

    site at http://www.flmd.uscourts.gov.

           D.      Other Alternative Dispute Resolution

           The parties intend to pursue the following other methods of alternative dispute

    resolution:

    Dated: January 4, 2021                           Respectfully submitted,

    By: /s/ Matthew C. Holohan                           /s/ Peter G. Pappas
    Ryan T. Santurri (Bar No. 15698)                     Peter G. Pappas (pro hac vice forthcoming)
    ALLEN, DYER, DOPPELT + GILCHRIST, PA                 Ann G. Fort (pro hac vice forthcoming)
    255 South Orange Ave., Suite 1401                    /s/ Cameron C. Murphy
    Orlando, FL 32801                                    Cameron C. Murphy
    Telephone: 407-841-2330                              Florida Bar No. 0125086
    Facsimile: 407-841-2343                              Eversheds Sutherland (US) LLP
    rsanturri@allendyer.com                              999 Peachtree St. NE, Suite 2300
                                                         Atlanta, GA 30309
    Robert R. Brunelli (admitted pro hac vice)           Phone: 404-853-8000
           rbrunelli@sheridanross.com                    Facsimile: 404-853-8806
    Matthew C. Holohan (admitted pro hac vice)           Email: petepappas@eversheds-sutherland.us
           mholohan@sheridanross.com                     Email: annfort@eversheds-sutherland.us
    SHERIDAN ROSS P.C.                                   Email: cameronmurphy@eversheds-
    1560 Broadway, Suite 1200                            sutherland.us
    Denver, CO 80202
    Telephone:      303-863-9700                         Attorneys for Defendant and Counterclaimant
    Facsimile:      303-863-0223                         FRESH EXPRESS BRANDS
    E-mail: litigation@sheridanross.com                  INCORPORATED

    Attorneys for Plaintiff
    Modified Atmosphere Enterprises LLC




                                                - 10 -
Case 6:20-cv-01702-PGB-LRH Document 31 Filed 01/04/21 Page 11 of 11 PageID 158




                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 4, 2021, I electronically filed the foregoing using

    the Case Management/Electronic Case Filing ("CM/ECF") system, which will send a Notice

    of Electronic Filing to the following CM/ECF participants:

           James Edward Cheek, III, Esq.
           Winderweedle, Haines, Ward and Woodman, P.A.
           Post Office Box 880
           329 Park Ave North, 2nd Floor
           Winter Park, FL 32789
           tcheek@whww.com

           Peter G. Pappas
           Ann G. Fort
           Cameron C. Murphy
           Florida Bar No. 0125086
           Eversheds Sutherland (US) LLP
           999 Peachtree St. NE, Suite 2300
           Atlanta, GA 30309
           Email: petepappas@eversheds-sutherland.us
           Email: annfort@eversheds-sutherland.us
           Email: cameronmurphy@eversheds-sutherland.us

           Attorneys for Defendant and Counterclaimant
           FRESH EXPRESS BRANDS INCORPORATED




                                                s/ Lori R. Brown
                                                Paralegal
                                                SHERIDAN ROSS P.C.
                                                1560 Broadway, Suite 1200
                                                Denver, Colorado 80202-5141
                                                Telephone:     303-863-9700
                                                Facsimile:     303-863-0223
                                                Email: lbrown@sheridanross.com




                                               - 11 -
